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                            UN ITED STA TE S DIST RIC T CO U RT
                            SO U TH ER N D ISTR ICT O F FL O RID A
                                        M iam iD ivision

                                                    M D L N o.2599
                                                    M aster File N o.15-2599-M D-M O R ENO
                                                    14-24009-CV -M O R EN O

  IN RE:

  TA K ATA AIR BA G PR O DU C TS
  LIA BILITY LITIG AT IO N


  TH IS D O CUM EN T RELA TES TO A LL
  ECON O M IC LO SS TR AC K CA SES
                                  /

             O RD ER G R A NT IN G IN PA R T A ND D EN YIN G IN PA RT M A ZDA
                   M O TO R O F A M ER IC A.IN C .D/B/A M A ZD A NO RT H
                    A M ER IC A N O PER ATIO N S'M O T IO N T O D ISM ISS

         This multidistrict litigation (ttM DL--) consolidates allegations of econom ic loss and

  personal injury related to airbags m anufactured by defendants Takata Corporation and TK
  Holdings(collectively,tb-
                          l-akata'')and equipped in vehiclesmanufactured by defendantsHonda,
  BM W ,Ford,Mazda,M itsubishi,Nissan,Subartl,and Toyota (collectively,the itAutomotive
  Defendantf')(collectively with Takata.thek-Defendants-').This cause comesbefore the Court
  upon M azda M otor of Am erica, lnc.d/b/a M azda North American Operations's ((tM azda'')

  M otion to Dismiss(bkM otion'')LD.E.6081,tiled on July 17,2015.The Cour'
                                                                         thasreviewed the
  Motion,Plaintiffs'OmnibusResponse(D.E.658)and Mazda'sReply (D.E.690).Additionally-
  the parties raised som e of their briefed argum ents atoralargum ent held on Friday,October 23,

        M azda's M otion asks the Cotlrtto dism iss a11 counts alleged against it in the Second

  AmendedEconomicLossComplaint('-complaint'')(D.E.579).
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                                        1.     BA C K G R O UN D

         Plaintiffs in this case are consum ers of vehicles equipped w ith Takata airbags containing

  am m onium nitrate as a propellant. The Courthasdivided the M DL'Scom ponentcases into two

  tracks:an econom ic loss track for plaintiffs alleging purely econom ic dam ages and a personal

  injul'
       y traek forplaintiffsallegingdamagesto aperson.Thisorderpertainstotheeconomicloss
  track cases.ln the Com plaint,Plaintiffs allege 11 counts againstM azda. l

         These 11 counts against M azda eonsist ofthe following:Count3 for violations ofthe

  M agnuson-M oss W anunty A ct;Count 25 for fraudulentconcealm ent,'Count 26 for violation of

  the Song-Beverly Consumer W arranty ActforBreach oflm plied W arranty ofM erchantability'
                                                                                          ,


  Count27 forunjustenrichment;Count28 forviolation ofCalifornia'sunfaircompetition law;
  Count29 forviolation ofCalifornia'sConsumerLegalRemediesAct;Count30 forviolation of

  California's false advertising law ;Count 31fornegligentfailure to recall,'Count47 on behalf of

  a Florida sub-classalleging violation ofthe Florida Deceptive and UnfairTrade Practices Act

  ('CFDUTPA'D);Count48 on behalfofa Florida sub-classalleging breach ofFlorida's implied
  warranty of m erchantability;and Count49 on behalfof an A labam a sub-class alleging violation

  ofAlabama'sDeceptiveTradePracticesAct(û'ADTPA'').2
         These 11 counts arise outof three N am ed Plaintiffs'M azda purchases. Specifically,the

  threeNamed Plaintiffsare:(1)Justin Birdsall;(2)CrystalPardue'
                                                              ,and(3)M ickeyVukadinovic.
  Birdsall purchased his M azda, used,in Pennsylvania. Pardue purchased her M azda, used, in



  1       This figure does not include Counts l04 106 alleged by the A utom otive Recycler's
                                                    -


  A ssociation. The A utom otive D efendants m oved to dism iss these three Counts and the Court
  ruled in their favor.A s these Counts have been dism issed,the Cou!'tdoes notaddress argum ents
  in the M otion,Om nibusResponse,and Reply addressing them .

         The Order does notapply to any of the claims for injunctive relief.The Cou!'
                                                                                    twill
  considertheargumentsconcerninginjunctivereliefin alaterorder.
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  Alabama.And Vukadinovicpurchased hisM azda,new ,in Florida.Birdsall'sclaimsweredirect-

  filed into the M DL,asheisa Nam ed Plaintiffin the Complaintand hiscasehad notpreviously

  been transferred to the Southern D istrictof Florida.Pardue's claim sw ere transferred to the Court

  from theNorthern Distrid ofAlabam a.Vukadinovic'sclaim sweretransferred to the Courtfrom

  the Eastern DistrictofPennsylvania.

                                     II.     L EG A L STAN D A RD

         tûA pleading that states a claim for reliefm ustcontain ...a shortand plain statem entof

  the claim showing thatthe pleader is entitled to relief.'' Fed.R.Civ.P.8(a)(2). To survive a
  m otion to dism iss,a ttcom plaintm ustcontain sufticientfactualm atter,aecepted astrue,to -state

  aclaim to reliefthalisplausibleon itsface.'''Ashcrojtv.Iqbal,556 U.S.662 (2009)(quoting
  BellAtl.Corp.v.Twombly,550 U.S.544 (2007)).Detailed factualallegationsarenotrequired,
  but a pleading m usl offer m ore than ûtlabels and conclusions'-or kûa form ulaic recitation of the

  elem ents ofthe cause ofaction.'' Twom bly,550 U .S.at555.

         W here a cause ofaction soundsin fraud,however,FederalRule ofCivilProcedure 9(b)

  mustbe satisfied in addition to themorerelaxed standard ofRule 8.UnderRule 9(b),ûkaparty
  m ust state w ith particularity the circum stances constituting fraud or m istake,'' although

  t-conditions ofa person's m ind,''such as m alice,intent,and know ledge m ay be alleged generally.

  Fed.R.Civ.P.9(b).ûkl-he tparticularity'requirementserves an importantpumose in fraud
  actions by alerting defendants to the precise m isconduct with which they are charged and

  protecting defendants against spurious charges of im m oraland fraudulent behavior.'' 14'
                                                                                          r C'oast

  Roohng d:Waterpronpng,Inc.v.
  (citationsomitted).
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                                           111.    AN A LY SIS

      A . C hoice of Law Analysis

         Plaintiffs assert three counts against M azda arising only under California Iaw .3

  Specifically,Counts 28-30 allege violations of:California's (l) Unfair Competition Law , (2)
  ConsumerLegalRemediesAct,and (3)FalseAdvcrtisingLaw,respectively.M azdaarguesthat
  the counts asserting Califomia law should be dismissed because ûûlalpplication ofthe proper
  choice oflaw rulcs didates thatthe consumerplaintiffs'.     . .   claim s are governed by the law of

  the states where they purehased theirrespective vehicles,''notCalifornia law .(D.E.608,at4).

  The Courtagrees.

         W hile Plaintiffs argue a choice of law inquiry is prem ature, the issue has been briefed

  and,atleastwith regard to the claim sagainstM azda,can bedecided by the Courtwithoutfurther

  factualdevelopm ent.

         Generally,a federalcourthearing state law claim s applies the choice of law rules ofthe

  forum slate.Grupo Tc/evjA'
                           f?,S.A.r.Telem undo C.
                                                't/lz7/pkc '
                                                           ns Grp., lnc.,485 F.3d 1233,1240 (11th

  Cir.2007).However,-tgiln casestransferred pursuantto 28U.S.C.j 1407,thetransfereedistrict
  courl m ust apply the state law ,including its choice of law rules, that w ould have been applied

  had there been no change ofvenuev''In re M anaged Care Litig., 298 F.Supp.2:1 1259, 1296

  (S.D.Fla.2003).
                ,lQn Dusen v.Barrack,376 U.S.612,639 (1964).
                                                           ,In re Toytota MotorCorp.
  UnintendedAcceleralion,785 F.Supp.2d 925,931(C.D.Cal.20l1).Accordingly,iûallstatesin
  which the transferor court of an individual action sits are considered forum states, and an




  3       Plaintiffs allege additional violations of California law , but in those counts, Plaintiffs
  plead alternative 1aw ifCalifornia law does notapply.The three counts discussed in this section
  arise strictly only underCalifornia law ,w ith no alternative law pleaded.
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  independentchoiceoflaw detenuination isnecessary forthe statesofalllransferorcourts.''ln re

  Conagra PeanutButter Prods.Liab Litig.,25lF.
                                     .       R.D.689,693(N.D.Ga.2008).
         This choice of1aw framework isnotaltered by the use ofa consolidated com plaintasa

  proceduraldevice to stream line the litigation,unless the parties so consent. Seeid.(tkgulsing a

  m astercomplaintas the operative pleading forehoice of law pum oses is notunprecedented in

  multidistrict litigation.However,itis generally used as a substantive pleading only when the

  partieshaveconsentedtosuchanarrangement.''(citationsomittedll;seealsolnreToyotaMotor
  C.
   at?rr. Unintended Acceleration,785 F.Supp.2d at931 (stating thattkgnqeither the general
  authorization ofthe coordination and consolidation under the M D L statute northe m ore specific

  use ofconsolidated complaints,asthe Courthasrequired here,isintended to alterthesubstantive

 rightsoftheparties''and adding,iigtlheuseofaconsolidatedcomplainthasbeendescribed aséa
 proeeduraldevieeratherthan a substantivepleadingwith thepowerto altertht choiceoflawg)
 rulesapplicabletotheplaintiffs'claims.'''(citingln reM ercedes-BenzTeleAid ContractLitig.,
 257F.R.D.46,56(D.N.J.2009)).
         Plaintiffsrelyinparton Gelboim v.Bankqfadlz?.Corp.,l35S.Ct.897,904 n.3(2015),to
 supporlthe proposition thatthe filing of a consolidated com plaintallow s the Courtto ignore the

 transferorcourts'ehoiee oflaw rules and apply Florida's choice oflaw rules.How ever, G elboim

 doesnotaddressthe choice of1aw inquiry.The issue in G elboim w as w hether,aspartof a larger

 M DL,a group ofplaintiffscould appealthe dismissalofthe only claim broughtby thatgroup.

 /J.at903.Holding thatsuch dismissalisappealable,theCourtstated,k'gclasesconsolidated for
 M D L pretrialproceedings ordinarily retain their separate identities,so an order disposing of one

 ofthediscretecasesin itsentirety should qualify underj 1291asan appealablefinaldecision.''
 1d.at 905.The Courtfurther explained,iisection 1407 refers to individual kactions'w hich m ay
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  be transferred to a single districtcourt,notto any m onolithic m ultidistrict laction'created by

  transfer.''ld.QuotingLexecon1t.
                                -.v.M ilberg r1't?ï.
                                                   5'yBershad Hynestt Lerach,523U.S.26, 37,
  the Courtparenthetically added,iij 1407 doesnotiimbukeltransfen-ed actionswith some new
  and distinctivc .,.character.'''ln footnote 3, the Courtstated,C-parties m ay electto file a im asler

  complaint' and a eorresponding çconsolidated answer,' w hich supersede prior individual

  pleadings.ln such a case,the transferee courtmay treatthe m aster pleadings as merging the

  discrete actions for the duration of the M D L pretrialproceedings.''G elboitn, l35 S.Ct.at 904

  n.3.The Coul'telarified thatdûtnlo mergeroccurs,however,when lthe mastercomplaintisnot
  m eant to be a pleading w ith legal effect but only an adm inistrative sum m ary of the claim s

  broughtby allthe plaintiffs.'''1J.

         Theprecise param etersofthe Court'sdicta in footnote 3 are unclear. H ow ever,given the

  Court'sanalysisregarding the ù-separate identities''ofeasesconsolidated in M DL proeeedings- it

  w ould be im properto ignore the transferor courts'contlictof law rules and apply only Florida's

  choice of law rules.Cases notresolved during the consolidated proceedingsm ustgo back to their

  respective transferorcourts.lfthe Courtwere to apply Florida's choice of law rules to a1lthe

  cases,then the transferor courls would have to apply state law they m ightnothave applied to the

  cases them selves.Transfer into the M DL would have,thus, altered parties- substantive rights.

  The principles of Van D usen and Erie,4 in addition to the case law cited supra. lead the Courtto




  4       ln van D usen, 376 IJ.  s.612 (1964),the Courtheld thatwhen considering questions of
  state law ,a transferee districtcourtm ustapply the sam e state substantive law ,including choice
  oflaw rules,asw ould be applied by a state courtin the transferor forum .The Courtgrounded its
  holding on principles of federalism thatunderscored Erie.See id.at 637-39.The Cour'      tstated,
  kûga)changeofvenueunderj 1404 generallyshouldbe,withrespectto statelaw,butachangeof
  courtroom s.''1d.at639.The sam e istrue ofcases consolidated before a districtcourtpursuantto
  j l407.SeeInreManaged CareLitig.,298F.Supp.2dat1296.
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  conclude that it should apply tbe transferor court's choice of 1aw rules despite use of the

  consolidated com plaintm echanism .

         Accordingly,Florida's choice oflaw rulesapply to Birdsall'sclaim sbecause hisclaims

  were tiled directly in the Southern Distrid ofFlorida.Alabam a's choice oflaw rules apply to

 Pardue's claim s beeause her case was transferred into the M DL from the Northern Districtof

  Alabam a.And Pennsylvania's choice of law rules apply to Vukadinovic's claims because his

 case w as transfen'ed into the M D L from the Eastern DistrictofPennsylvania.

        Florida's choice of law rules for tort actions are based on the 'ttm ost significant

 relationship'testoutlined in the Restatement(Second)ofConllictofLaws.''Grupo Televisa,
 S.A.,485 F.3d at1240 (quotingBishop v.Fla.Specialty PaintCo.,389 So.2d 999,1001(Fla.
  1980)).Courtsconsiderfourtypesofeontactsto determinewhich statehasthemostsignificant
 relationship to the matter:(1) the place where the injury occurred'
                                                                   ,(2) the place where the
 conduct causing the injury occurred; (3) the domicile, residence nationality, place of
 incorporation and place ofbusiness oftheparties;and (4)the place where the relationship,if
 any,between the parties is centered.1d.A coul'
                                              t should evaluate these contacts iikaccording to

 their relalive importance with respect to the particular issue.''' Id. (quoting j 145 of the

 Restatement(Second)ofContlid of Laws).However,the firsteontaetis generally the most
 important,aslkabsentspecialcircumstances,;gtlhestatewheretheinjuryoccurredwould ...be
 the decisive consideration in determ ining the applicable choice oflaw .'''Pysca Panam a, <%.A.v.

 TensarEarth Techs.,lnc.,625 F.Supp.2d 1198,1220 (S.D.Fla.2008)(quoting Bishop,389 So.
 2d at1001).
        Pennsylvania ''em ploys a ttlexible rule'w hich eom binesthe ksigniticantcontad s analysis

 ofRestatement(Second)ofContlictofLawsj l45andatgovemmentalinterestanalysis.'''lnre
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  Tylenol(Acetaminophen)Mktg.,No.13-md-02436-2015 q?L 241741l,at *2 (M ay 20,20l5
  E.D.Pa.)(citing Gri
                    .tj'ithv.UnitedAirLines,lnc.,203A.2d796,805(Pa.1964)).Pennsylvania's
  SupremeCourthasstated,ttgtlhemeritofsuch aruleisthatitgivestotheplacehavingthemost
  interestin lhe problem param ountcontroloverthe legalissues arising outof a particular factual

  contextand thereby allows the forum to apply the policy ofthejurisdiction mostintimately
 concerned with the outcome ofthe particular litigation.''Grffith,203 A.2d at 806 (internal
 quotationmarksomitted).Pennsylvanialkpermitsanalysisofthepoliciesandinterestsunderlying
 theparticularissuebeforethe courtand directscourtsto apply the1aw ofthe statewith them ost

  interest in the problem .''' Travelers Prop Cas.Co.t?
                                            .         /-Am.v.Chubb Custom /?7.:. Co.,864 F.
 Supp.2d301,308(E.D.Pa.2012)(quotingSpecialty Surfaceslnt'
                                                         I,Inc.v.Cont'1Cas.Co.,609
 F.3d223,229(3dCir.2010(
                       9.
        A labam a's choice of law rules for tortactions are based on tithe traditionalchoice oflaw

 rule of lex lociJe/ïc/ï''requiring ktthatthe substantive law of the plaee w here the tol4 occurred

 mustbeemployed.''lnre VerilinkCtvr.,405B.R.356,365(N.D.Ala.2009)(internalquotation
 marksomitted).ûkunderlexIocidelicti,atortisdeemedtohaveoccurredwheretheallegedharm
 wassuffered.''Id.(citingNorrisv.Taylor,460So.2(1151,152 (Ala.1984).
        ln any conflictof1aw analysis,a fundamentalissueisttwhetheraconflictactually exists.''

 Cooperv.Meridian Yachts,L(d.,575F.3d ll5l,1171(1lthCir.2009).kûisimplystated,gafalse
 contlictoccursq .      when the laws of the com peting states are substantially sim ilar.'-' /J  .




 (alterationsin original)(quotingFiorettiv.Mass.Gen.Lfelns.Co.,53 F.3d 1228,l234 (l1th
 Cir.2006)).ûklf a false contlictexists,the courtshould avoid the contlicts question and simply
 decide the issue underthe 1aw ofeach ofthe interested states.''Id.(internalquotation marks
 om itted).è'A truecontlictexistswhen two orm orestateshavea legitimate interestin aparticular
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  set of facts in the litigation and the laws of those states differ or would produce a different

  result.''/J,(internalquotation marks omitted).Assuming,arguendo,thatCalifornia has any
  interestin theinstantadions,there isa true conflictoflaw whereCaliforniahascausesofaction

  notrecognized by Florida,Pennsylvania,and Alabam a law .

         The Court finds that under Florida,Pennsylvania, and A labam a's choice of law rules,

  California law should notapply to the instantactions. N one ofthe three N am ed Plaintiffs reside

  in Califbrnia,nordid they reside in California atthe tim e ofpurchase.s Plaintiffs do not allegc

  thatthe vehicles atissue were purchased in California or thatthe N am ed Plaintiffs saw or heard

  any allegedly deceptive advertisem ents about M azda in California. N or do Plaintiffs allege the

 vehielesatissue werem anufactured in California.The only signiticanttieto California alleged is

 that M azda is headquartered in California. This tie is not enough to defeat the interests of

 Florida,Pennsylvania,and A labam a in the instantactions,as these states are whtre the vehicles

  were purchased and w here the alleged harm - overpaym entfor a purportedly defective car -

 w as suffered.

         Applying Florida's choice of law rules to Birdsall's claim s,Pennsylvania substanlive 1aw

  applies to his claim s,as he purchased the vehicle in Pcnnsylvania,and thus,Pennsylvania has

 m ore interest in the claim s than does Calit-
                                              ornia.A pplying Pennsylvania's choice oflaw rules to

 V ukadinovic'sclaim ,Florida's substantive 1aw appliesto his claim s,as he purchased the vehicle

  in Florida and residesin Florida,and thus,Florida hasm oreofan interestin theclaim sthan does

  California. Applying Alabama's choice of 1aw rule of lex Iocidelicti to Purdue's claim s,




  5      Specifically, B irdsall resides in N ew York and purchased his M azda in Pelm sylvania;
  Pardue resides in A labam a and purchased her M azda in A labam a'
                                                                   ,and V ukadinovic resides in
  Florida and purchased his M azda in Florida.
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   A labam a substantive law governs her claim , as the purported harm w ould have occurred in

  Alabama,where Purduepurchased hervehicle.

          Because California law does no1 govern the claims brought against M azda, M azda's

  M otion is G IU N TED as to the counts exclusively alleging claim s under California law .

  Accordingly,Count28,Count29,and Count30 areherebyDISM ISSED .

          As to Count 26, Violation of Song-Beverly Consum er W anunty Act for Breach of

  lmplied W arranty ofM erchantability (California'sLemon Law),Plaintit-
                                                                       fsexpressly pleadthis
  Count in the alternative,stating tkif Califom ia law does not apply, gtheCountlisbroughtunder

  the law s of the states w here Plaintiffs and class M em bers reside.--(D.
                                                                           E.579 ! 73l).Mazda is
  correet that California 1aw does not apply to the instant actions. H ow ever, M azda does not

  address Plaintiffs' pleading Count 26 in the alternative. A ccordingly,the Court DEN IE S the

  M otion asto Count26.

      B. M anifestation ofA lleged D efect

         M azda arguesthatallclaimsfordam agesagainstitshould be dism issed because Birdsall,

  Pardue,and V ukadinovie failto allege m anifestation of a defect. M azda posits thatthe N amed

  Plaintiffs' M azda vehicles 'thave performed satisfactorily without any m anifestation of the

  lntlatorDcfccta''(D.E.608 at 10).M azda arguesthatFlorida,Alabama,and Pennsylvania are
  ûtfirmly aligned with this majority jurisprudence''requiring ûtmanifestation for a dcfecteven
  w here plaintiffsallege dim inished value er lossefresale value and the defectis life threatening.-'

  (D.E.608 atl1-16).Plaintiffsrespond,interalia,thatthe airbagshave been defectivesincethe
  very firstdaytheywereinstalledbecausethepropellantusedbyTakata                butrejectedbyevery
  othermajorairbagmanufacturerintheindustry            isproneto instability and explosions.''(D.E.
  658at41).Plaintiffscontinue,kig-l-lhatdefeetisnottheoreticalorhypothetical,given the eight
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  deathsand hundredsofinjuriescausedbythelnflatorDefectin Takata'sairbags.''(D.E.658at


         A t this m otion to dism iss stage, given Plaintiffs' allegations of am m onium nitrate's

  innate instability,the C ourtagreesw ith Plaintiffs'argum entregarding m anifestation. The crux of

  Plaintit-fs' allegations is that the propellant used in the Takata airbags at issue is unstable. By

  detinition,this alleged instability w ould m ean thatthe airbagsm ay notprotectvehiele occupants,

  oritmay,and itmay create a more dangerous situation than having no airbag atall, or it m ay

  not. Plaintiffs allege there is no w ay to know w hether the airbags at issue would perfonn

  satisfactorily in an accident.lfTakata had installed grenades in its airbags thatm ay or m ay not

  explode on im pact, a court w ould not require an explosion to dem onstrate m anifestation of a

  defeet. Plaintiffs have alleged essentially this scenario,6 explaining that occupants of vehicles

  equipped with theallegedly defectiveairbagscannotknow whethertheirairbagswillexpelmetal

  shrapnelthatm ay killorm aim them .

         The above analysis is lim ited to the m olion to dism iss stage,taking as true Plaintiffs'

  allegations of a uniform defectbased on the use of am m onium nitrate as a propellant.The Court

  notes thalDefendants have raised the possibility ofothercauses and factors contributing to the

  airbag intlator m alftlnctions, like the press used in the m anufacturing process and hum idity.

  Thesefactorsmaybeappropriatelyconsideredatthesummaryjudgementstage.
      C. M azda's K now ledge

         M azda argues that Plaintiffs have not adequately alleged that it had know ledge of the

  inflator defectatthe tim e of sale,and thus,thatthe know ledge-dependentcounts alleged against



  6      In the Response, Plaintiffs state,t-W ithoutw arning-the defecttransform s a criticalsafety
  device,the vehicle's airbag,into a tlselesspiece offabric ora veritable grenade.''(D.E.658 at
  33).
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   itshouldbedismissed.(SeeD.E.608at16-21).MazdanotesthalPlaintiffshavenotallegedthat
  M azda had directknowledge ofthe alleged inflatordefectpriorto the relevantsales, and that

  Plaintiffsrely on two theoriesofconstructive knowledge:(1)thatM azda kçknew orshould have

  known thatTakata'sairbagsweredefeclive atthetime ofmanufacture because kM azda)knew
  thatTakata's design contained ûvolatile and unstable amm onium nitratcv''
                                                                          'and (2)thatM azda
  ûkknew orshould have known aboutthe lntlatorDefed because ithad aduty to investigateallof

  its vehicles follow ing H onda's firstrecallin 2008.''(D.E.608 atl7-l8).Defendantsarguethat

  both theoriesfailasa m atter oflaw .

         The Court finds that Plaintit-fs have sufficienlly alleged M azda's knowledge of the

  alleged intlatordefectto satisfy Rule9(b).Plaintiffshavealleged thattheVehicleM anufacturer
  D efendants kiw ere aw are thatthe airbags used the volatile and unstable am m onium nitrate asthe

  primary propellant in the intlators.''(D.E.579 !! 9,32).Plaintiffs elaim that the Vehicle
  M anufacturerDefendantsreviewed thedesignsoftheinflatorswith Takata beforethey approved

  using the Takata airbagsin theirvehicles.(D.E.579 !! 9,32).Further.Plaintiffsallege facts
  suggesting Defendants knew or should have know n ofthe volatility and potentialdangerofusing

  am m onium nitrate as an airbag inflator propellant. Specifically, Plaintiffs allege that Takata

  expressed concern over the using an am m onittm nitrate propetlant in 1995 and 1999 patent

  documents.(D.E.579 !! 207,208).Plaintiffsfurtherclaim thatammonium nitrate istypically
  used as an industrial explosive.(D.E. 579 !! 205, 206).Given the above,Plaintiffs have
  plausibly alleged that D efendants knew or should have know n of the alleged intlator defect.

  A ccordingly,the Court need not reach the issue of whether M azda had a duty to investigate

  incidentsofTakata intlatorm alfunctionsin otherA utom otive Defendants'vehicles.
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         Exactly how prevalentknowledge ofthevolatility and instability ofammonium nitrateis,

  and whether M azda knew or should have known about these characteristics, is a topic better

  suited for summary judgment ortrial,and thus,the Courtcan revisit this issue at a more
  appropriate tim e.

     D. Count25:FraudulentConcealm ent

         M azda m oves to dism iss Count 25sfor fraudulent coneealm ent, as alleged by the three

  N am ed Plaintiffs.

         1. Pardue's C laim For FraudulentC oncealm entU nder A labam a Law

         M azda argues Pardue's claim of fraudulent concealm ent should be dism issed for four

  reasons:(1) Plaintiffs have notadequately pleaded N4azda had knowledge of a defect;(2)
  Plaintiffs failto meetthe heightened pleading requirementsofRule 9(b),as Plaintiffsdo not
  allegeany statementmade by M azdato Pardue,much lessthe specificsofsuch statement;(3)
  Plaintiffs do notallege w hatM azda obtained from Pardue'spurchase ofthe used vehicle atissue,
                                                                                               '

  and (4) Mazda did nothave a duty to disclose any information aboutthe Takata airbags to
  Pardue,a tlsed CarPurchaser.

              discussed in Section        supra, Plaintiffs have adequately pleaded know ledge.

  Additionally, the Court tinds that, for the m otion to dism iss stage, Plaintiffs have pleaded

  fraudulent concealm ent w ith sufficient particularity. A s Plaintiffs argue in their response,

  Plaintiffshave sufticiently pleaded the bkw ho,what,when,and w here''oftheir om ission claim .ln

  short,Plaintiffs have alleged M azda failed to disclose its know ledge ofa life threatening intlator

  defect prior to Plaintiffs' purchases through any m ode of com m unication. By definition,

  Plaintiffs cannotpointto one particular statem entby M azda as this countis for an om ission - a

  non-statem ent.
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         The elementsoffraudulentconcealment(also referred to asiçsuppression''by Alabama
  legalauthorities)underAlabamalaw areasfollows:(1)û'aduty on thepartofthedefendantto
  disclose facts'''
                  7(2) ltconcealment or nondisclosure of materialfacts by the defendanf'7
                                                                                        '(3)
  ûkinducementofthe plaintiffto acf''
                                    5and 4)ûiaction by the plaintiffto his orherinjury.''See
  Parsons d:Whittemore Enters.Corp.v.Cello Fnergy,IIC.,613 F.Supp.2d 1271,1288 (S.D .

  Ala.2009).
         A side from the know ledge and fraud standards raised by M azda, M azda's rem aining

  contention iswith the firstelem ent:kiduty on the partofthedefendantto disclose facts.''M azda

  incorporatesby reference the duty arguments made by Subaru ofAm erica,lnc.in docketentry

  615, pages 31-32. The crux of this argum ent is that M azda had no duty to Pardue, as she

  purchased hervehicle used,from a third party.

         A lthough,generally,a duty to speak û'arises ifthere is a contsdentialrelationship betw een

  the partiesv'' a duty to speak m ay arise if there are i'tspecial circum stances' m andating

  disclosure.''Parsons & W hittem ore Enters. Corp., 613 F.Supp. 2d at 1288.To determ ine if

  special circum stances exist,courts iklook into the facts sun-ounding an event to determ ine if a

  duty to speak is appropriate,even ifthere is no contidentialrelationship between the parties.''ld.

  at 1288-89.Specifically,coul'
                              tsassess six factors:(1)relationship ofthe parties;(2)relative
  knowledge oftheparties;(3)valueofthe particularfact;(4)plaintiffsopportunity to ascertain
  the fact;(5)customsofthe trade'
                                ,and (6)otherrelevantcircumstances.Freightliner,L.L.C.p,
  Whatley ContractCarriers,            932 So.2d 883,891 (Ala.2005).As partof the ûûother
  relevant circum stances,''a coul'
                                  t m ay consider w hethera defendant has m ade any iûaffirm atively

  falsestatements.''Cf Parsonsd:WhittemoreEnters.Corp.,613 F.Supp.2d at1289(statingthe
  defendanttkbore no duty to disclose in either scenario because there is no evidence thathe m ade
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  anyaftirmativelyfalsestatementsorthatgtheplaintifflasked gthedefendantl''aspecificquestion
  thedefendantwould beobligatedtoanswer).
         W here adefendantdid nothavea duty to speak,ifhe doesspeak ikeithervoluntarily orin

  response to inquiry,he is bound notonly to state the truth butalso notto suppress orconcealany

  facts w ithin his knowledge which w illm aterially qualify those stated;ifhe speaks atall,he m ust

  makeafullandfairdisclosure.''Freightliner,L.L.C.,932 So.2dat895(emphasisremoved).
         Here,Plaintiffs have alleged that M azda kihad a duty to disclose the lntlator Defect

  because it...gmlade incomplete representationsaboutthe safety and reliability ofthe Class
  V ehicles,while purposefully w ithholding m aterial facts from Plaintiffs that contradicted these

  representations.''(D.E.579 ! 72l).Plaintiffs have alleged M azda made various statements
  regarding thesafetyofitsvehiclespriortoPardue'spurehase.(D.E.579!310(d)).Specifically,
  Plaintiffsallege thatin 2004,M azda iirepresented in brochures thatitscarspossessed iinspiring

  perform ance'and ireassuring safety features.'''Plaintiffs also claim that,in 2005,M azda stated

  on its website that tiin every configuration, you'll enjoy M azda's legendary performance,
  function,style and safety.'-

         At this m otion to dism iss stage,because Plaintiffs have alleged that M azda m ade these

  incom plete statem ents,the Coul'
                                  t finds Plaintiffs have sufficiently alleged M azda had a duty to

  disclose additional facts aboutthe safety of its vehicles.O f course,if found that M azda had no

  know ledge ofthe purported inflatordefectatthe tim e M azda m ade these statem ents,then M azda

  would nothave had a duty to disclose additionalfacts.Such inquiry would be appropriate atthe

  summaryjudgmentstageorattrial.
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         2. V ukadinovic'sC laim For FraudulentC oncealm entU nder Florida Law

         M azda argues Vukadinovic's claim for Fraudulent Concealm ent under Florida Law

  should bedism issed forfourreasons.Specifically, M azdaarguesthat:(1)theeconomiclossnlle

  barsrecovery;(2)Plaintiffshavenotadequately alleged M azdahad knowledge ofthe alleged
  defect'
        ,(3)Plaintiffs'elaimsfailunderRule9(b)'sheightenedpleading standard'
                                                                           ,and(4)M azda
  did nothaveaduty to Vukadinovicto disclose any information regarding the Takata airbags.

         A s the Coul'
                     t explained,supra,for purposes of this m otion to dism iss stage, Plaintiffs

  have adequately pleaded knowledge and met Rule 9(b)'s heightened pleading standard for
  purposes offraudulent eoneealmcnt.The Coul'tneed not reach the issue of M azda's duty to

  Vukadinovic,as the Courtfinds the economic lossrule bars Vukadinovic'sclaim forfraudulent

  concealm ent.

                  a. Florida'sEconom ic L ossR ule

         kbg-l-lheeconomiclossruleisajudiciallycreateddoctrinethatsetsfol'
                                                                         th thccircumstances
  underw hich a tortaction is prohibited if the only dam ages suffered are econom ic losses.''Tiara

  Condo.-z15,
            5,'
              n v.M arsch & M cl-ennan Cos.lnc,110 So. 3d 399,401(Fla.2013).The Florida

  Suprem e Coul'thasdefined econom ic lossas''damagesforinadequate value, costs ofrepair and

  replacemenl of the defective product, or consequent loss of profit - without any claim of

  personalinjury ordamage to otherproperty.'-/J.(internalquotation marksomitled).Florida's
  SupremeCourthasexplainedthatkbgtlherulehasitsrootsintheproductsliability arena,andwas
  prim arily intended to lim it actions in the products liability context.''ld. Specifically,the court

  explained the econom ic loss rule is -tthe fundam ental boundary betw een contract law , w hich is

  designed to enforce the expectancy interestsoftheparties,and tortlaw,which im posesaduty of




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  reasonablecareandtherebyencouragescitizenstoavoidcausinginjuryphysicalharm toothers.''
  /J,(internalquotationmarksomitted).
         ln an effortto ttrollback the econom ic lossrule''afteran era ofûûunprincipled extension,''

  Florida's Suprem e Coul'
                         t expressly lim ited the application of the econom ic loss rule to the

  products liability context.1d.ln doing so,the courtnoted severalexceptions to the econom ic loss

  rule, including itfraudulent inducem ent, and negligent m isrepresentation, or free-standing

  statutory causes        action.'' /J. How ever, the fraudulent inducem ent and negligent

  m isrepresentation cases to w hich the coul't cited w ere outside of the products liability context.

  See id.atnn.7,8.These exceptions were irrelevantto the decision reached in Tiara.

         The question before the Court,then,is whether Florida's Suprem e C ourt,by its dicta,

  intended to abridge the econom ic loss rule in the products liability setting to allow fraudulent

  inducementand negligentmisrepresentation claims(and by implication fraudulentconcealment
  claims),even where the action for fraud depends upon precisely the same allegations as a
  warranty claim     i.e.,a claim the productfailed to work asprom ised.

         The Court agrees w ith other courts in this Circuit that have concluded that Florida's

  Suprem e Coul'tdid not intend to allow such products liability claim s to survive.See Aprigliano

  v.Am.Honda Motor Ct?., 979 F. Supp.2d 1331 at 1337-39 (S.D.Fla.2013); Burns v.
  Winnebago Indus.,lnc.,No.8:13-cv-1427-7--24,2013 W L 4437246,at*4 (M .D.Fla.Aug.l6,

  2013)(holding thatfraudulentinducementand negligentmisrepresentation exceptions to the
  econom ic loss rule generally arise in the context of contractual privity cases,not in products

  liability actions,and finding thateconom ic loss rule barred claim soffraudulentconcealm entand

  negligentmisrepresentation in theproductsliability contextl;ln reAtlasstpt?/3?w Corp.(7J/tW,/
  ShingleProds.Liab.Litig.,No.130m d-2495,2015 W L 3796456,at*3 (
                                                                'N .D.Ga.June 18,20l5)
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  (applying Florida1aw and statingeconomiclossrulebarred actiontbrfraudulentconcealmentin
  products liability case because the alleged m isrepresentation concerned the heartof the parties'

  agreem entand ûtsim ply applying the labelof fraud to a cause ofaction w illnotsuffice to subvert

  the sound policyrationalesunderlying theeconom iclossrule.-').
         In Aprigliano, the court tbund that the plaintiffs' --cause of action           negligent

  misrepresentation is dependenton the same fundamentalallegationseontained in the breach of

  warranty claim     specitically,thatHonda breached the terms of its W arranties by providing

  Plaintiffs with defective m otorcycles . .. .''Aprigliano,979 F. Supp 2d at 1338. The court

  explainedthatûkkulsually claimsfornegligentmisrepresentation arebarred bytheeconomicloss
  rule w here, as here, there are claim s for breach of w arranty' alongside tort claim s and the

  allegations contained in both are sim ilara'' 1J. A ecordingly, the court held the negligent

  m isrepresentation claim w as barred by the econom ic loss rule.In explaining its analysis- the

  courtquoted Burns,stating that

         (tlo hold otherwise would allow the economic loss rule to bemanipulated such
         that any tim e a purchaser received a detkctive productthat did notcause any
         injuries ordamage to otherproperty,such a purchasercould assertclaims for
         negligentand fraudulentconcealm entregarding the defect to avoid the econom ic
         lossrule.

  1d.(citingBurns,8:13-cv-1427-7--24,2013W L 4437246,at*4).
         Here,thefraudulentconcealm entclaim sallegeprecisely whata breach ofwarranty claim

  would allege nam ely that the M azda vehicles did not work as prom ised.Because the Court

  holds Florida's econom ic loss rule applies to such claim s,the CourtG R AN TS M azda's M otion

  as to V ukadinovic'sclaim forfraudulentconcealm ent,Count25.

             Birdsall's C laim For FraudulentC oncealm entU nder Pennsylvania Law

         M azda argues that Birdsall's claim for fraudulent concealm ent should be dism issed for

  the sam e tburreasons thatV ukadinovic-s claim should be dism issed.
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         As the Courtexplained,supra,for purposes of this m otion to dismiss stage, Plaintiffs

  have adequately pleaded knowledge and met Rule 9(b)'s heightened pleading standard for
  purposes of fraudulent concealment.The Courtneed not reach the issue of M azda's duty to

  Birdsall, as the Court finds the econom ic loss rule bars Birdsall's claim for fraudulent

  concealm ent.

             a. Pennsylvania'sEconom ic L oss R ule

         Pennsylvania's Suprem e Court has expressly reserved the question of whether the

  economic loss rule bars claims for fraudulentm isrepresentation. See David ##?
                                                                               ,/?z??z?Paving dr
  Excavating, lnc. v. Found.Servs. Co., 816 A .2d 1164, 1171 n.2 (Pa.2003)(holding thatthe

  econom ic loss rule barred claim sofnegligence and thatclaim for fraudulentmisrepresentation

  failed forotherreasons,stating ûûgtlhere are no PennsylvaniaSupremeCourtorSuperiorCourt
  cases that indicate thatthe econom ic loss doetrine bars a claim for fraudulentm isrepresentation.

  H owever,forthe reasonsstated in the text,w e need notaddress thatissue in thiscase.'
                                                                                      ').
         W hile noting a split of authority on the matter,the Third Circuit has predicted that

  Pennsylvania's Suprem e Courtw ould apply the econom ic loss rule to claim sofintentionalfraud

  relating to the quality or characterofthe goods sold.See W erw inskiv.Ford M otor Co., 286 F.3d

  661,670-7l,674-81 (3d Cir.2002).As Plaintiffsobsenre,somc Pennsylvania lowercourts
  continue to apply an exception to the econom ic loss rule forclaim s ofintentionaltorts. See,e.g.,

  Teledyne Techs./??c.v.Freedom Forge Corp..No.3398,2002 W L 748898.at* 11(Pa.Com .Pl.

  Apr.19,2002)(noting an absence of Pennsylvania case 1aw on the subjectand conflicting
  decision in Pennsylvania'sfederalcourts).Yet,otherPennsylvanialowercourtshaveapproved
  the Third Circuit'slogic in W erwinski's regarding the econom ic loss rule,as itpertainsto claim s

  brought under Pennsylvania's U nfair Trade Practices A ct and Consum er Protection Law


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  (CûUTPCPL'').SeeEllenbogen v.PNC Banks731A.2d 175,l88-89 (Pa.Super.l999))Sarsheld
  v.Citimortgage,lnc.,707F.Supp.2d 546,557-59(M .D.Pa.2010)(citingcases).
         N otw ithstanding som e low er state courtopinions to the contrary, the Courtagrees w ith

  the reasoning ofthe Third Circuitin Werwinskiand its conclusion thatPennsylvania'sSupreme

  Cottrtw ould apply the econom ic loss ruleto barclaim s ofintentionalfraud relating to the quality

  ofthegoodsatissue,asopposed to fraud thathad nothing to do with the quality ofthegood sold       .



         ln an opinion largely adopted by Pennsylvania's Supreme Courl, the United States

  Suprem e Court adopted the econom ic loss doctrine, stating 'ûa m anufacturer . . . has no duty

  undereithernegligence orstrict-liability theory to preventa productfrom injuring itself.''F      ,



  River S.S.Corp.v. Transam erica Delaval, Jrlc.,476 U.
                                                      S.858,87l(l986).TheCourtstatedthat
  -'contractremedieswould drown in asea oftort''ifproductsIiability rem ediesprogressedtoo far.

  /J.at866.The Courtalso explained that''the need for a rem edy in tortis reduced w hen the only

  injury isto the productitselfand tthe producthasnotmetthe customer'sexpectations,ol',in
  otherwords,thatthecustom erhasreceived insufficientproductvalue.'''W erw inski,286 F.3d at

  671(quoting E.River,476U.S.at872).TheCourtfurtherstated,tt-f'
                                                              he maintenanceofproduct
  value and quality isprecisely the purpose ofexpressand im plied warranties''and ttwarranty law

  sufficiently protecls the purchaser by allowing it to obtain the benefit of its bargain.''E.River,

  476 U .S.at872,874.

         ln REM Coal Co.v. Clark Eqtlip. Co., 563 A .2d 128, 134 (Pa.1989),Pennsylvania's

  Suprem e Courttladopted the doctrine largely as setfol'
                                                        th in EastRiver.'' lfzkrw/r&s/c/, 286 F.3d at

  67l.There,the courtphrased the issue as:

         the appropriateness of perm itting recovery in tol't where a product m alfunctions
         because of an alleged defect in the product . . .but the m alfunction causes no
         personalinjury and no injury to any otherproperty ofthe plaintiff....g'
                                                                               rlhe


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         question is ...whether a cause of action in torts as opposed to one sounding
         solely in contract,isan appropriatevehicleforobtaining such a recovery.

  REM Coal,563 A.2d at l29.The court explained that '-contract theories such as breach of

  wanunty are specitically aimed atand perfectly suited to providing com plete redress in cases

  involving ...econom iclosses.''1d.The courtelaborated, tkA 11ofsuch losses are based upon and

  flow from the purchaser'slossofthe benefitofhisbargain and hisdisappointed expedations as

  to the product he purchased.Thus, the hann soughtto be redressed is precisely that which a

  warranty action does redress.'-Id. Additionally,the courtadded thatthe proper focus of the

  economiclossrule isnoton thetype ofrisk associated with the defect, rather,itis -won the actual

  harm for w hich plaintiff seeks recovery.'' ld. at 133. A ccordingly, the court held that the

  economiclossrule barred claim sbased on strictproductsliability and negligence. See id.at l34.

  The courttbund thatto hold otherwise ûiwould certainly erode the im portantdistinctionsbetween

  tortand contractualtheories.''ld.at128.

         The logic expressed by Pennsylvania's Suprem e Courtin REM Coalneed notstretch far,

  if atall,to apply to claim s of fraudulent concealm ent where a plaintiff alleges hanu only to the

  product.The Courtwould vitiate the econom ic lossrule ifitwere to hold thattheeconomicloss

  ruledid notbarclaim sforintentionalfraud,when thatfraud directly relatesto thequality ofthe

  product,and the only harm alleged isto the productitself.Essentially, any plaintiffcould bypass

  the evonom ic loss rule by adding a elaim of fraudulent concealm ent to their com plaint. Such a

  holding would erode the distinctions between tol'
                                                  t and contract theories that Pennsylvania's

  Suprem e Coul'thas soughtto preserve.

         The Courtt-
                   inds,as did the Third Circuit in W erw inski,thatPennsylvania courts'use of

  the .çgistofthe action doctrine''in the fraud contextlends supportto application ofthe econom ic

  loss rule in the fraud context.See eTollv.Elais/savion Ad%'er., Inc.,8l1A.2d l0,l9 (Pa.Super.
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   Ct.2002).Thegistoftheactiondoctrineûtbarsplaintiffsfrom bringing atol'
                                                                        tclaim thatmerely
   replicatesaclaim forbreach ofan underlyingcontract.''Wenvinski,286 F.3d at680 n.8.ln el-oll,

  the eourtelaborated upon the gistofthe action doctrine, stating thatdtcoul'
                                                                            ts have notcarved out

  a categoricalexception to avoid fraud,and have notheld thattheduty to avoid fraud isalwaysa

  qualitatively differtntduty imposed by society ratherthan by the contractitself'-eToll, 81l A .2d

  at19(emphasisinoriginal).ûûRather,thecasesseem toturnon thequestionofwhetherthefraud
  concerned the perform ance ofcontractualduties. lfso,then 1he alleged fraud isgenerally held to

  be merely collateralto a contractclaim for breach ofthose duties. lf not,then the gist of the

  action would bethe fraud.''1d.

         This distinction in the gist of the action doctrine     whether the fraud concerns the

  perform anee ofcontractualduties or w hether the fraud is m erely collateralto the contractclaim

     is essentially the sam e type of distinction the Third Circuit, in W erwinski, predicted the

  Pennsylvania Suprem e Coul'twould make regarding the econom ic loss rule. See W erinski,286

  F.3dat676-78(discussingtheQ'Hurondistinction'').
         ln the caseathand,Plaintiffsclaim M azda fraudulently concealed infonuation regarding

  the alleged lnflator D efect. Plaintiffs on the econom ic Ioss track have alieged only econom ic

  harm arising from this alleged fraudulent concealm ent.The alleged fiuud pertains only to the

  quality of M azda's product, i.e.the vehicle is not as safe (and m ay at times be lethally
  dangerous)asadvertised.Accordingly,inthefraudulentconcealmentclaims,Plaintiffsallegethe
  sam e facts that w ould suppol'
                                t breach of w arranty claim s. A ccordingly, the Court holds the

  eeonom ic lossdoctrine barsBirdsall'sclaim for fraudulentconcealm ent, Count25.




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      E . Count31:N egligentFailure to Recall

         M azda argues that Count 31,negligent failure to recall, should be dism issed as to all

  three Nam ed Plaintiffsbecause the econom ic lossrules in Alabam a, Florida,and Pennsylvania

  preelude these claim s of negligence seeking dam ages for only econom ic losses.1 The Court

  agrees.

         Plaintiffs do not contend that the econom ic loss rules in Alabam a, Florida, and

  Pennsylvania w ould notbarthese claim s.Rather. Plaintiffs'responseto this issue islargely that

  negligent failure to recallis a cause of action recognized in California and that California's

  econom ic loss rule w ould not bar Count 3l. How ever, as the Court has explained, supra,

  California law does notapply to the three Nam ed Plaintiffs'claims. Rather,A labam a,Florida,

  and Ptnnsylvania Iaw apply to the claim sofPardue,Vukadinovic, and Birdsall,respectively.

         A labam a, Florida, and Pennsylvania's econom ic loss rules bar this negligence claim

  asserted by Plaintiffs.ln A labam a,underthe econom ic loss--rule, acause ofaction doesnotarise

  undertol'ttheoriesofnegligence,wantonness,strictliability or (an Alabama statutelwhere a
  productm alfunctions or is defective and thereby causes dam age only to the productitself.''Ford

  Motor Co.v.Rice,726 So.2d 626,63l(Ala.1998).
                                             ,see also Harris&toran Seed C().,Inc.v.
  Phillps,949 So.2d 916,931-33 (Ala.Civ.App.2006)(applying economic lossrule to bar
  multipleclaims,includingnegligenceclaim).Similarly,inFlorida,theeconomiclossrulemeans
  a m anufacturer tikhas no duty under either a negligence or strict products liability theory to

  preventa productfrom injuring itself.'''F/J.Power& LightCo.v.WestinghouseElec.Corp.,
  510 So.2d899,901(Fla.1987)(quotingE.River,476U.S.at870)(adoptingtheeconomicloss


  7      M azda m akes num erous other argum ents as to why Count 31 should be dism issed,
  however,because the econom ic loss rule in these three states clearly bars this negligence claim ,
  the Courtneed notaddressthose additionalargum ents.
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  rule in Floridal;seealso Tiara,ll0 So.3d at404-05(discussingFlorida'seconomiclossrule)           .



  A long the sam e lines, in Pennsylvania, the econom ic loss rule ùbbars recovery in negligence

  where only econom ic lossesare claim ed.''Adams v. Copper Beach Townhome Cm tys., L.P.,816

  A.2d 301,304 (Pa.Super.Ct.2003).
         ln Count 31,the three N am ed Plaintiffs seek dam ages for only econom ic loss alleging

  negligence.A ccordingly,the Courtm ustdism iss Count 31 as to allthree N am ed Plaintift-s, as it

  isbarred by theeconomiclossrulesofAlabama, Florida,and Pennsylvania.

     F. Count27:UnjustEnriehment
         M azdamovestodismissCount27,forunjustenrichment,asalleged bythethreeNamed
  Plaintiffs.

         1. Pardue'sClaim ForUnjustEnrichmentUnderAlabamaLaw
         M azda argues Pardue's elaim for unjust enrichment must be dismissed, inter aliu,
  because Pardue purchased her purportedly defective M azda vehicle used, from a used car

  dealership and thus,M azda did not have possession of m oney belonging to Pardue. Plaintiffs

  respond that,while plaintiffs m ust iùdirectly confer a benetston defendants, they need nothave

  direct contact w ith the defendants to do so'' and that a plaintiff's m oney could pass to a

  defendantbyathirdparty.(D.E.658at54-55).
         Under Alabama law,ligtlo prevailon a elaim ofunjustenrichment,the plaintiffmust
  show that the defendant holds money which.in equity and good eonseience,belongs to the

  plaintiff or holds m oney which w as im properly paid to defendant because of m istake or fraud.''

  Atl.Nat1 Trust,LLC v.M cNamee,984 So.2d 375,381 (Ala.2007) (internalquotation m arks
  omitted)(emphasisremovcd).Aceordingly,ttgajdefendanteannotbeunjustlyenriched ifitdoes




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  nothave in its possession any money belonging to the plaintiff''RRE FRB-AL SLDL,LLC v.
                                                                .




  SaxonLandDev.,968F.Supp.2d 1133,1141(M .D.Ala.2013).
         Here,Parduepurchased hervehiclefrom aused cardealerin Alabam a. (D.
                                                                           E.579! 141).
  Plaintiffs do not allege this dealership had any aftiliation with s4azda. The CouM cannot

  reasonably infer from thc faets alleged that M azda ever held any m oney belonging to Pardue.

  Accordingly, the Court m ust dism iss Count 27, forunjustenrichment,as alleged by Plaintiff

  Pardue.

         2. Birdsall'sClaim ForUnjustEnrichmentUnderPennsylvaniaLaw
         M azda arguesthatBirdsall's claim forunjustenrichmentshould be dismissed forthe
  sam e underlying reason as Pardue's claim :because Birdsallpurchased his vehicle used, he did

  notconferabenetiton M azda.Justaswith Pardue,theCourtagrees.

         Under Pennsylvania law,the elements of unjust enrichment are as follows:(1) the
  tsplaintiffconferred abenefiton thedefendanti''(2)lûthedefendantappreciatedthebenefiti''and
  (3)ùtacceptanceand retention by thedefendantofthebenefits,underthe circumstances,would
  m ake it inequitable for the defendantto retain the benefitwithoutpaying forthe value ofthe

  benefit.''Glob.G round Support,LL C v.Glazer Enters.,Inc., 58lF.Supp.2d 669,675 (E.D.Pa.

  2008).
       ,seealso Mitchellv.Moore,729A.2 l200,l203-04(Pa.l999).The'-heartofaclaim for
  unjustenrichmentisthat'lhepartyagainstwhom recovery issoughteitherwrongfullysecuredor
  passively received a benefit that would be unconscionable for the party to retain w ithout

  com pensating the provider.'''Schmidtv.Ford Motor Co.,972 F.Supp.2d 712,721 (E.D.Pa.

  2013)(quotingHershey FoodsCorp.v.RalphChapek,lnc.,828F.2d989-999(3dCir.19B7)).
         Here,Birdsallpurchased his vehicle from a used car dealer in Pennsylvania (D.
                                                                                  .  E.579 !
  85).Plaintiffs do notallege this dealership had any aftiliation with M azda.The Courtcannot


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  reasonably infer from the facts alleged that Birdsall conferred any benefit on M azda by

  purchasing his vehicle atan independentthird party dealership w ith no alleged relationship w ith

  Mazda.Accordingly,the Courtmustdismiss Count27,forunjustenrichment,as alleged by
  PlaintiffBirdsall.See 1d.(dismissing unjustenrichmentclaimsbecausc the plaintiffsdid t'not
  even allege that they purchased their vehicles from D efendant or one of Defendant's dealers,''

  and addingthattheplaintiffsiûfailledjto show any way in which theirmoney transferred from
  theirownpocketsto gthedlefendant's.'')
         3. Vukadinovic'sClaim ForUnjustEnrichmentUnderFloridaLaw
         H aving purchased a new M azda,V ukadinovic stands in a differentposition tban Pardue

  and Birdsall.Nevertheless,M azda movesto dismisshis claims forunjustenrichmenton two
  grounds,arguing:(1)thatthestatuteoflimitationsran inearly 2009 andbarstheaction'
                                                                                 ,and (2)
  thatasan equitableremedy,unjustenrichmentisnotavailable wherethereisan adequate legal
  rem edy.The Courtaddresses both argum ents in turn.

             a. Statute ofLim itations

         Plaintiffs respond to M azda's argum ent,stating Florida's four-year statute of lim itations

  for unjust enrichment claims does not bar this claim because the doctrines of fraudulent
  coneealm entand equitable estoppelapply.The Courtagreesthat,atthis m otion to dism iss stage,

  Plaintiffs have sufficiently alleged facts of fraudulent concealm ent to im plicate tolling of the

  statute of lim itations.See Am.H ome Assur.C>t?.v.W eaver Aggregate Tram p.,/at'.,990 F.Supp.

  2d 1254,1272 (M .D.Fla.2013)(stating,ti-f'he doctrine offraudulentconcealm entwilloperate to

  tollthestatuteoflimitationswhen itcanbeshown thatfraudhasbeen perpetratedontheinjured
  party sufficientto place him in ignorance ofhis rightto a cause ofaction orto preventhim from

  discoveringhisinjury.''(internalquotationmarksomittedl).


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         W hile M azda argues that the tolling argum ent fails because Plaintiffs have not

  suftsciently alleged M azda's knowledge of the purported iniator defectand have notpleaded

  fraud with sufticient particularity, the Court has already addressed these m atters in favor of

  Plaintiffs,supra.M azda also arguesthalPlaintiffsfailto allege the active concealm entnccessary

  to invoke tolling.However,Plaintiffs allege V ukadinovic took his M azda to a M azda dealership

  and w astold his airbag lightturning on w as iûnothing to w orry about.''V iew ing the facts alleged

  in the Complaintin the lightm ostfavorable to Vukadinovic,asthe Courtm ustatthisstage, this

  statem entcould have been m ade to concealthe purported defectfrom V ukadinovic A ccordingly,
                                                                                       .




  the Courtfinds Plaintiffshave suftieiently alleged fraudulentconcealm entto survive a m otion to

  dism iss on statute of lim itations grounds.

             b. A dequate LegalR em edy

         Mazda argues Vukadinovic's unjust enrichment count should be dismissed because
  unjustenrichmentisan equitable remedy thatisunavailable where there is an adequate legal
  rem edy.M azda posits that an express contract,in the fonn ofM azda's express warranty,exists

  coveringthesamematterastheunjustenrichmentclaim:thepurporteddefectsinhisvehicle.
         Plaintiffs respond thatkkègilt is only upon a showing lhatan express contractexists
  between thepartiesthatthe unjustenrichmentcountfails.'''(D.E.658 at49 (citing State Farm
  Mut.Auto.lns.Co.v.Physicians lnjury Care Ctr.,lnc.,427 F.App'x 714,722 (1lth Cir.
  2011))).Plaintiffs additionally argue that they have sufficiently alleged that the wanunties
  covering the issues in this litigation are procedurally and substantively unconscionable.

  Plaintiffs' fonuer argum ent is unavailing,butthe latter argum ent has m erit at this stage in the

  proceedings.
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         Plaintiffs have alleged Vukadinovic's .:2004 M azda M PV is currently covered orwas

  covered by a written warranty fornew cars.''(D.E.579 ! 175).M azda attached said express
  warranty to itsM otion.(See D.E.608-1).Furthermore,Plaintiffsdo notdeny the existence of
  this express warranty.Accordingly, M azda has shown that a contract exists that covers the

  subjectofthislitigation.However,M azdahasnotproventhatthecontractisenforceable.
         An unjustenrichmentclaim ktcan existonly ifthe subjectmatterofthatclaim isnot
  covered by avalid and enforceable contract.'-See In reM anaged CareLitig., 185 F.Supp.2d at

  1337-38 (dismissing unjust enrichment claim because the plaintiffs failed to contest the
  existence ofan expresscontractgoverning the subjectofthe dispute and the plaintiffs failed
  allegeanadequateremedyatlaw didnotexist).
         However, because Plaintiffs have alleged that the warranties are procedurally and

  substantively unconscionable,Plaintiffshave also alleged thatthewarrantiescovering the instant

  actionarenotenforceable.8(D.E.579!!452-54).Additionally, Plaintiffshaveexpresslyalleged

  they haveno adequate remedy atlaw.(D.E.579 ! 749).Thus,atthismotion to dismissstage.
  Plaintiffs have sufficiently alleged V ukadinovic does not have an adequate rem edy at law'.

  Accordingly,the CourtDENIES Mazda's motion to dismiss Vukadinovic's claim forunjust
  enrichm ent,Count27.

     G . C ount49:Alabam a Deceptive Trade Practices A ct

         M azda m oves to dism iss Count49 for violation of A labam a's Deceptive Trade Practices

  Act (:'ADTPA'') as alleged by Pardue.M azda proffers three reasons that Count49 mustbe
  dism issed:(1)Plaintiffshavenotalleged manifestation ofthepurported defect;(2)Plaintiffsfaii

  8      M azda states V ukadinovic iidoes not deny the existence or validity of the contract.''
  H owever,this is precisely what the allegations of procedural and substantive unconscionability
  do. M azda does not reply to Plaintiffs' argum ent of unconscionability and the purported
  unenforceability ofthe contractatissue.
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  to adequately allegeM azda'sknowledgeoffalseordeceptiveconduct;and (3)Plaintiffsfailto
  allegePardue satisfed ADTPA'Spre-suitnoticerequirem ent.

         M azda'sfirsttwo argum ents are unavailing,asperthe Court's holding on m anifestation

  and know ledge,supra.

         Plaintiffs respond to the notice requirem ent argum ent by positing that notice w as not

  required and even ifitwere,the requirem enthasbeen satisfied orexcused.Plaintiffsclaim that

  because Rule 23 itdoes notcontain a sim ilarpre-suitnotice requirem ent,the state rules requiring

  such noticeconflictwith thefederalrule,andthus,requireapplication ofthefederalrule.''(D.E.
  658at78).Rule23,however,hasnobearingon thisstagcoflitigation,which hasnothingtodo
  w ith class certification. Accordingly, there is no eontlict and the pre-suit notice requirem ent

  should be enforced.See Deerman v.Fed.Home Loan M ortg.Corp.,955 F.Supp.1393,l399-

  1400 (N.D.Ala.1997)(applyingADTPA'Spre-suitnoticerequirementand dismissingADTPA
  claiml;InreSears,Roebuck(f Co.ToolsMktg.andSalesPracticesLitig.,No.MDL-I703,2009
  W L 937256,at*10 (N.D.111.Apr.6,2009)(same).
         W hile the Courtfinds A DTPA 'S pre-suitnotice requirem entapplies,the Courtalso finds

  that Plaintiffs have sufficiently alleged the requirem ent w as satisfied. Specifically, Plaintiffs

  have alleged that

         giln accordance with Ala.Code j 8-19-l0(e),Plaintiffs'counsel,on behalfof
         Plaintiffs, served D efendants w ith notice of their alleged violations of the
         A labam a D TPA relating to the Class V ehicles and/or the Defective A irbags
         installed in them purchased by Plaintiffs and the Alabam a Sub-c lass, and
         dem anded thatdefendantscorrectoragree to con-ectthe actions described therein.

  (D.E.579 ! 1062).M azda failsto noteany particulardeficiency in thenoticereceived.Rather,
  M azda takes issue only w ith the allegations of notice,arguing Plaintiffs do notallege notice w as

  provided atleast15 days priorto the tiling ofany action and thatPlaintiffsfailed to plead Pardue


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  wasspecifically mentioned in the notice letter.(D.E.690 at17).Viewing theallegationsin the
  light mostfavorable to Plaintiffs,the Courtfinds thatPlaintiffs have sufficiently pleaded that

  they satisfied A DTPA 'S notice provision.

         Forthe foregoing reasons,theCourtdeniesM azda'sm otion to dism issPardue'sADTPA

  claim ,C ount49.

     H . C ount47:Florida Deceptive Trade Practices Act

         M azda m oves to dism iss Count 47 for violation of Florida's Deceptive Trade Practices

  Act(ûCADTPA'')as alleged by Vukadinovic.M azda proffers two reasons Count49 mustbe
  dismissed:(1)Plaintiffshavenotallegedmanifestationofthealleged defect;and(2)theclaim is
  barredby Florida'sfour-yearstatuteoflim itationsforFDUTPA claims.

         As discussed supra, Plaintiffs have sufficiently alleged manifestation of the alleged

  lntlatorDefect.Thus,the Courtturnsto M azda'ssecond argum ent. M azda arguesthatthe statute

  oflim itationsforthisFDUTPA claim ran in early 2009 and thatthe discovery doctrine doesnot

  apply to tollFDUTPA claims.(See D.E.608 at27).Plaintiffsarguethateven ifthe discovery
  doctrine doesnotapply to the tollFDUTPA claim s,the claim can survive because the statute of

  lim itations could be equitably tolled due to M azda's alleged fraudulent concealm ent. For

  purposes of the motion to dismiss stage, the Court agrees and adopts its reasoning supra

  pertaining to Plaintiffs sufficiently alleging that fraudulent concealm ent tolled the statute of

  limitationsforVukadinovic'sunjustenrichmentclaim.
         Thus, the Court DEN IES M azda's m otion to dism iss V ukadinovic's FDU TPA claim ,

  Count47.




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     1. Count48 and Count3:Breach ofFlorida'sIm plied W arranty of M erchantability
        and V iolation ofthe M agnuson M oss W arranty A ct

         M azda m oves to dism iss Count 48, asserting breach of Florida's im plied w arranty of

  m erchantability.ln Response,Plaintiffs state they çûhave elected notto pursue im plied w arranty

  claim s underFlorida''law .A ccordingly,the CourtG R AN T S M azda's m otion to dism iss Count

  48.

         ForM agnuson M ossW arranlyAct(tûMM W A'')claims,courtsikmustlooktotberelevanl
  state law to determ ine the m eaning and creation of any im plied w arranty.'' A s Plaintiffs have

  decided not to pursue V ukadinovic's claim for breach of im plied w arranty,the Courtassum es

  Plaintiffs do not seek to pursue Vukadinovic's claim for violation of the M M W A,Count 3        .




  M azda raised three reasons to dism iss the im plied w arranty claim , and thus, to dism iss the

  M M W A claim , and Plaintiffs did not respond to any of them . M azda argues, inter alia, that

  V ukadinovic lacked privity w ith M azda,and thus,cannotm aintain a claim forbreach ofim plied

  w arranty.The C ourtagrees.M azda is an autom otive distributor,nota dealer.V ukadinovic could

  nothave purchased hisvehicle from M azda.Thus,Vukadinovic lacks privity w ith M azda and the

  implied wanunty claim mustfail.See Mesa v.BM W of N.Am.,904 So.2d 450,458 (Fla.3d
  DCA 2005) (ûûunder Florida law,a plaintiff cannot recover economic losses forbreach of
  implied wanunty intheabsenceofprivity.''l;Davidv.Am.SuzukiM otorCorp.,629 F.Supp.2d
         1321 (S.D.Fla.2009)(iûFlorida 1aw requiresprivity of contractto sustain a breach of
  impliedwarrantyclaim.'').
         A ccordingly, the Court G R AN TS M azda's M otion as to Count 3, as asserted by

  V ukadinovic.
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                                      IV.     CONCLUSIO N

          Based onthe foregoing,itishereby

         ORDERED AND ADJUDGED thatM azda's Motion (D.E.6081 is GRANTED IN
   PA RT and DEN IED IN PA R T. Specifically, Count 25 is D ISM ISSED as it pertains to

   V ukadinovic and Birdsall,butnotPardue. Count27 is D ISM ISSED as itpertains to Birdsalland

   Pardue,butnotVukadinovic.And Counts28, 29,30,31,and 48 are D ISM ISSED . Count 3,as

  asserted by Vukadinoviconly,isalso DISM ISSED .

         D O N E A N D O R DER E D in Cham bers,M iam i, Florida,this 14tbday ofJune, 2016.



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  Copies furnished to:
  Counselofrecord




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